                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ALASKA

CARL E. BROWN,
as next friend of James E. Carter,
          Plaintiff,
                                              Case Number 3:13-cv-00001-SLG
v.

CORRECTIONS CORP. OF AMERICA,
          Defendant.                          JUDGMENT IN A CIVIL CASE


     JURY VERDICT. This action came before the court for a trial
by jury. The issues have been tried and the jury has rendered its
verdict.


 X   DECISION BY COURT. This action came before the court. The
issues have been duly considered and a decision has been rendered.

            IT IS ORDERED AND ADJUDGED:

        THAT the plaintiff recover nothing, the action be dismissed
on the merits, and the defendant Corrections Corp. of America
recover costs in the amount of $__________________from the
plaintiff Carl E. Brown.


APPROVED:

  /s/Sharon L. Gleason
 SHARON L. GLEASON
 United States District Judge


 Date: April 30, 2013                              Marvel Hansbraugh
                                                   Marvel Hansbraugh,
                                                     Clerk of Court




[313cv1SLG-judgment.wpd]{JMT2.WPT*Rev.3/03}




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